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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                         DEL RIO DIVISION
STATE OF TEXAS                            §
                                          §     CIVIL NO:
vs.                                       §     DR:23-CV-00055-AM
                                          §
US DEPARTMENT OF HOMELAND                 §
SECURITY, ALEJANDRO MAYORKAS,
US CUSTOMS AND BORDER
PROTECTION, US BORDER PATROL,
TROY A. MILLER, JASON OWENS, JUAN
BERNAL

      ORDER SETTING PRELIMINARY INJUNCTION HEARING
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY INJUNCTION HEARING in Courtroom 1, on the 2nd floor, U.S.
Courthouse, 111 E. Broadway, Del Rio, TX, on Monday, November 27, 2023 at 10:00 AM.
All parties and counsel must appear at this hearing.

       IT IS SO ORDERED this 21st day of November, 2023.




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                                          ALIA MOSES
                                          CHIEF U.S. DISTRICT JUDGE
